     Case 1:23-cr-00207-MHC-JSA Document 1 Filed 06/13/23 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED ST A TES OF AMERICA

          V.                                   Criminal Indictment

   JUSTIN NEWKIRK                              No.   I •ISCRO?.n"

THE GRAND JURY CHARGES THAT:


                                    Background

   At all times material to this indictment:

   1. The United States Penitentiary in Atlanta, Georgia (USP-Atlanta) was a

facility operated and controlled by the Federal Bureau of Prisons (BOP), which is

responsible for the custody, control, care, and safety of inmates who have been

sentenced to imprisonment for federal crimes.

   2. The defendant, JUSTIN NEWKIRK, was employed by BOP as a correctional

officer at USP-Atlanta.

   3. M.N. was an inmate housed at USP-Atlanta.

                                    Count One

   The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 3 of this Indictment as if fully set

forth herein.
    Case 1:23-cr-00207-MHC-JSA Document 1 Filed 06/13/23 Page 2 of 3




   On or about March 17, 2022, in the Northern District of Georgia, the

defendant, JUSTIN NEWKIRK, while acting under color of law, willfully

deprived M.N. of the right, secured and profected by the Constitution and laws

of the United States, to be free from cruel and unusual punishment. Specifically,

the defendant repeatedly sprayed M.N. with pepper spray (also known as

oleoresin capsicum) without a legitimate penological purpose. This offense

caused physical pain and resulted in bodily injury to M.N.

   All in violation of Title 18, United States Code, Section 242.
                                      Count Two

   The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 3 of this Indictment as if fully set

forth herein.

   On or about March 17, 2022, in the Northern District of Georgia, the

defendant, JUSTIN. NEWKIRK, then a correctional officer at USP-Atlanta, acting

in relation to or in contemplation of a matter within the jurisdiction of an agency

of the United States, knowingly falsified and made a false entry in a record and

document, to wit: the defendant wrote an incident report falsely describing his

physical interaction with M.N., an inmate, in relation to the defendant's use of

physical force by spraying M.N. with pepper spray (also known as oleoresin

capsicum) with the intent to impede, obstruct, and influence the investigation of

a matter within federal jurisdiction. Specifically, the defendant wrote, in

pertinent part, (1) "inmate [M.N.] then lunged at me with closed fist in an
                                          2
I       Case 1:23-cr-00207-MHC-JSA Document 1 Filed 06/13/23 Page 3 of 3




    aggressive manner showing imminent signs of violence" and (2) the defendant

    intentionally omitted and concealed in his report that he deployed pepper spray

    multiple times during his interaction with M.N.

       All in violation of Title 18, United States Code, Section 1519.




                                                                              BILL


                                                         FOREPERSON

    RYAN K. BUCHANAN
      United States Attorney


    BRET R. HOBSON
      Assistan t United States Attorney
    Georgia Bar No. 882520

     ~a__a ½
    BRENT ALAN      Git(Y
      Assistant United States Attorney
    Georgia Bar No. 155089

    600 U.S. Courthouse
    75 Ted Turner Drive SW
    Atlanta, GA 30303
    404-581-6000




                                             3
